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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE, JANE DOE 2, JANE             :
DOE 3, JANE DOE 4,
                                       :

     Plaintiffs                        :   CIVIL ACTION NO. 3:21-477

     v.                                :     (JUDGE MANNION)

SCHUYLKILL COUNTY                      :
COURTHOUSE; GEORGE
HALCOVAGE, in his individual           :
and official capacity; GLEN ROTH
in his individual and official         :
capacity; and GARY BENDER in
his individual and official capacity   :

     Defendants                        :



                                ORDER


     A case management conference having been held September 28,

2021, IT IS HEREBY ORDERED that:

     1.    Joining Additional Parties. The final date for the joining of

           additional parties shall be November 1, 2021.

     2.    Amendment of Pleadings. The final date for the amendment

           of pleadings shall be November 1, 2021.
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      3.    Fact Discovery. All fact discovery shall be completed by

            March 4, 2022.

      4.    Expert Reports. Expert reports will be due from the plaintiff on

            or before January 31, 2022; from the defendant on or before

            March 4, 2022; Supplementations, if any, by either party will be

            due on or before April 4, 2022.

      5.    Expert Discovery. All expert discovery shall be completed by

            May 4, 2022.

      6.   Dispositive Motions. Dispositive motions, if any, shall be filed

            April 29, 2022.

      The final pretrial conference and trial dates will be decided after the

dispositive motion deadline has expired.

      Counsel are reminded that discovery disputes will be handled as

follows: In the first instance, counsel should discuss, in good faith, an

equitable resolution of their discovery disagreements. If this good faith

discussion is unsuccessful, counsel shall contact chambers to schedule a

conference call among all parties to discuss and resolve the dispute. If,

after the conference call, the court believes the issues need briefing by the

parties, it will set down an appropriate briefing schedule. No written
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discovery motions are to be filed without leave of court, and even then only

following the above noted procedure.

        Counsel shall not cease active discovery pending disposition of any

pretrial motions, including, but not limited to, motions to dismiss. Should the

parties enter into private mediation, the court should immediately be

notified of the proposed date for mediation. Additionally if mediation is

successful counsel shall immediately notify the court.

        The schedule established herein should be followed by all counsel

and parties. Continuances of trial and extensions of the discovery period

will be sparingly granted, and only when appropriate circumstances

demand and application is timely made.



                                             s/ Malachy E. Mannion______
                                             MALACHY E. MANNION
                                             United States District Judge

DATED: September 30, 2021
21-477-06
